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      KUDOBOARD, LLC AND AARON RUBENS
12
                                    UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14   KUDOS, INC., an Alberta, Canada Corporation,     CASE NO. 3:20-cv-01876-SI
15
                      Plaintiff,                      DECLARATION OF GINA L. DURHAM
16                                                    IN SUPPORT OF DEFENDANTS/
            v.                                        CONTERCLAIMANTS’ AARON
17                                                    RUBENS AND KUDOBOARD, LLC’S
     KUDOBOARD, LLC, a Louisiana Limited              MOTION FOR SUMMARY JUDGMENT
18
     Liability Company; AARON RUBENS, an
     individual residing in California,               Date: October 29, 2021
19
                                                      Time: 10:00 AM
20                    Defendants.                     Crtrm: 1
                                                      Judge: Hon. Susan Illston
21                                                    Original Complaint filed: March 17, 2020
   KUDOBOARD, LLC, a Louisiana Limited
22 Liability Company; AARON RUBENS, an
   individual residing in California,
23

24                    Counterclaimants,

25         v.

26 KUDOS, INC., an Alberta, Canada corporation,

27                    Counterdefendant.
28

                          DURHAM DECL. ISO MOT. FOR SUMMARY JUDGMENT – CASE NO. 3:20-cv-01876-SI
     WEST/296203910
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 1   I, Gina L. Durham, declare as follows:

 2                1.   I am an attorney licensed to practice in the State of California. I am a partner of DLA

 3   Piper LLP (US), counsel for Defendants/Counterclaimants Kudoboard, LLC and Aaron Rubens

 4   (collectively “Kudoboard”). I submit this declaration in support of Kudoboard’s Motion for

 5   Summary Judgment. The statements in this declaration are based on my personal knowledge, and

 6   if called to do so, I would competently testify as to these statements.

 7                2.   Exhibit 35 is a true and correct copy of excerpts of the official deposition transcript

 8   of Muni Boga, as Kudos, Inc.’s (“Kudos”) 30(b)(6) representative, taken as part of this litigation. I

 9   personally conducted the deposition of Mr. Boga.1

10                3.   Exhibit 36 is a true and correct copy of a cease and desist letter, dated September

11   13, 2012, which Kudos addressed to TribeHR, produced by Kudos as part of this litigation, bates

12   stamped KUDOS002546.

13                4.   Exhibit 37 is a true and correct copy of Exhibit 53 of Mr. Boga’s Deposition,

14   consisting of Mr. Boga’s Declaration, filed as part of Kudos’s Opposition against Kudo, Inc. dba

15   Kudo Technologies in front of the Trademark Trial and Appeal Board, dated June 19, 2020.

16                5.   Exhibit 38 is a true and correct copy of Plaintiff’s Notice of Opposition to Everfit,

17   Inc d/b/a Kudos’s trademark application for KUDOS (Serial No. 87430346) in class 41 for

18   “providing a website and an online computer database featuring information regarding exercise

19   techniques and an assigned human coach that, when combined, provide personalized exercise

20   recommendations, videos, how-to guides, and step-by- step directions on how to complete exercise

21   movements that support a customer's fitness goals.” Plaintiff produced this document as part of this

22   litigation, bates stamped KUDOS001843.

23                6.   Exhibit 39 is a true and correct copy of excerpts of the official deposition transcript

24   of Mr. Tom Short, Kudos’s chief customer officer, taken as part of this litigation. I personally

25   conducted the deposition of Mr. Short.

26

27   1
       The numbering of exhibits in my declaration continues the numbering of exhibits found in the
28   Declaration of Aaron Rubens in Support of Defendants/Counterclaimants’ Motion for Summary
     Judgment.
                                                   1
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          Case 3:20-cv-01876-SI Document 66 Filed 09/24/21 Page 3 of 4




 1          7.        Exhibit 40 is a true and correct copy of a cease and desist letter, dated May 20, 2015,

 2   which Kudos addressed to KUDO APP Inc., produced by Kudos as part of this litigation, bates

 3   stamped KUDOS002586.

 4          8.        Exhibit 41 is a true and correct copy of a cease and desist letter, dated May 20, 2015,

 5   which Kudos addressed regarding the use of iKUDOS, produced by Kudos as part of this litigation,

 6   bates stamped KUDOS002580.

 7          9.        Exhibit 42 is a true and correct copy of a cease and desist letter, dated September

 8   13, 2012, which Kudos sent to Kudos Trading Co., produced by Kudos as part of this litigation,

 9   bates stamped KUDOS002592.

10          10.       Exhibit 43 is a true and correct copy of Plaintiff’s Second Supplemental Responses

11   to Defendants’ Second Set of Interrogatories (Nos. 12–20), dated August 13, 2021.

12          11.       Exhibit 44 is a true and correct copy of a cease and desist letter, dated May 05, 2016,

13   which Kudos addressed to TeamKudo objecting of use of TEAMKUDO, produced by Kudos as part

14   of this litigation, bates stamped KUDOS002616.

15          12.       Exhibit 45 is a true and correct copy of Exhibit 35 of Mr. Short’s Deposition,

16   consisting of a copy from the United States Patent and Trademark Office (“USPTO”) of a trademark

17   application for KUDOS THANK DIFFERENT, filed by Rare Method Capital Corporation on

18   January 24, 2007.

19          13.       Exhibit 46 is a true and correct copy of Exhibit 36 of Mr. Short’s Deposition,

20   consisting of an office action issued by the USPTO for KUDOS THANK DIFFERENT (Serial

21   Number 7709324).

22          14.       Exhibit 47 is a true and correct copy of Exhibit 37 of Mr. Short’s Deposition,

23   consisting of Rare Method Capital Corporation’s Office Action Response for its KUDOS THANK

24   DIFFERENT application (Serial Number 7709324), submitted on December 21, 2007.

25          15.       Exhibit 48 is a true and correct copy of the Expert Report of Dr. William Eggington,

26   produced by Kudoboard as part of this litigation.

27          16.       Exhibit 49 is a true and correct copy of Exhibit 55 of Mr. Boga’s Deposition,

28   consisting of Plaintiff’s website, https://www.kudos.com/product/mobile/, retrieved July 29, 2021.
                                                      2
                          DURHAM DECL. ISO MOT. FOR SUMMARY JUDGMENT – CASE NO. 3:20-cv-01876-SI
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 1          17.       Exhibit 50 is a true and correct copy of Exhibit 56 of Mr. Boga’s Deposition,

 2   consisting       of    Plaintiff’s    support     website,     https://support.kudosnow.com/hc/en-

 3   us/articles/203808876-Private-and-Public-Kudos, bates stamped KUDOBOARD01254.

 4          18.       Exhibit 51 is a true and correct copy of an excerpt of the deposition transcript of

 5   Nikki Weisgarber, Kudos’s Director of Client Success, taken by Kudoboard as part of this litigation.

 6          I declare under penalty of perjury under the laws of the United States that the foregoing is

 7   true and correct. Executed this 24th day of September, 2021, in San Francisco, California.

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 9                                               By: /s/ Gina L. Durham
                                                     GINA L. DURHAM
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